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   1 PATRICK S. SMITH, ESQ., State Bar No. 120220
     BELTRAN, BELTRAN, SMITH & MACKENZIE LLP
   2 16133 Ventura Blvd., Suite 1145
     Encino, California 91436
   3 Telephone: (818) 981-1027
     Facsimile: (844) 270-8055
   4 patricksmithlaw@gmail.com
   5   Attorney for Plaintiff
       VERNON STRATTON
   6
   7                          UNITED STATES DISTRICT COURT
   8                        CENTRAL DISTRICT OF CALIFORNIA
   9   VERNON STRATTON                  )              CV 2:19-cv-00430 MCS (ASx)
                                        )
  10             Plaintiff,             )              Pretrial Conference:
                                        )              Date: October 30, 2020
  11   vs.                              )              Time: 10:00 a.m.
                                        )              Ctrm: First Street Courtroom 7C
  12   CITY OF LOS ANGELES, OFFICER )
       GONZALEZ (#42365), OFFICER       )              Trial: November 17, 2020
  13   SANCHEZ (#32899), OFFICER        )              Time: 9:00 a.m.
       AMBER KIM (#40907), TRAVIS       )
  14   HANTSBARGER, DONNA BRITTON, )
       and DOES 1- 100, inclusive,      )
  15                                    )
                 Defendants.            )
  16   ________________________________ )
  17         Plaintiff hereby submits his list of proposed witnesses to the court. Given the
  18   current pandemic, the availability of some witnesses is uncertain. Plaintiff does not
  19   intend to call all of these witnesses depending on their availability.
  20   DATED: October 9, 2020                  BELTRAN, BELTRAN, SMITH &
                                               MACKENZIE LLP
  21
  22                                           By:___________________________
                                                PATRICK S. SMITH
  23                                            Attorneys for Plaintiff
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                                           Plaintiff’s Witness List
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   1          VERNON STRATTON V. CITY OF LOS ANGELES, ET AL.
   2                             2:19-CV-00430 MCS (ASx) .
   3   WITNESS       IDENTITY AND BRIEF                            Time Est. Time Est. Time Est.
   4   NO.           DESCRIPTION OF
                     TESTIMONY                                     Direct      Cross      Cross
   5                                                               Plaintiff   Officers   Priv Defs
   6   1.            Vernon Stratton                               2 hours     1 hour     3 hours
                     (Plaintiff would testify to the
   7                 events of April 12, 2018 and how
                     he was beaten, then arrested and
   8                 prosecuted. He will also testify
                     to his injuries both mental and
   9                 physical)
  10   2.            Officer Joe Gonzalez                          2 hours     1 hour     .5 hours
                     (Defendant will testify to his
  11                 being called to the scene, his
                     interview with Defendant
  12                 Hantsbarger (recorded on BWV),
                     his writing of the arrest report,
  13                 his subsequent testimony in court
                     and his conversations with other
  14                 defendants regarding testimony)
  15   3.            Officer Sanchez (Defendant will               .5 hours    .5 hours   1 hour
                     testify to his being called to the
  16                 scene, his interview with
                     Defendant Hantsbarger (recorded
  17                 on BWV), his writing of the
                     arrest report, his subsequent
  18                 presence in court and his
                     conversations with other
  19                 defendants regarding testimony)
  20   4.            Officer Amber Kim (Defendant                  .5 hours    .5 hours   1 hour
                     will testify to her investigation
  21                 into the case and the writing of
                     her report, and the interview of
  22                 witnesses at the scene.)
       5.            Travis Hantsbarger (Defendant                 2 hours     .5 hours   1 hour
  23                 will testify to his presence at
                     Donna Britton’s house, his
  24                 confrontation with Plaintiff, his
                     beating of Plaintiff and
  25                 Plaintiff’s observable injuries,
                     his subsequent conversations
  26                 with Defendant Britton, police
                     officers, and his statements to the
  27                 police, other witnesses, and to
                     the prosecution).
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                                        Plaintiff’s Witness List
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   1   6.            Donna Britton (Defendant will      2 hours    .5 hours    .5 hours
   2                 testify to the events at her home
                     on April 12, 2018, Travis
   3                 Hantsbarger’s presence at her
                     house, Hantsbarger’s
   4                 confrontation with Plaintiff,
                     Hantsbarger’s beating of Plaintiff
   5                 and her participation in that
                     beating, and Plaintiff’s
   6                 observable injuries,
                     Hantsbarger’s subsequent
   7                 conversation/statements with her
                     and statements to the police
   8                 officers, other witnesses, and to
                     the prosecution).
   9   7.            Detective Foster Rains (Witness .3 hours      .25 hours   .5 hours
                     will testify to the statement of
  10                 Defendant Donna Britton and his
                     investigation into the case and
  11                 authentication of evidence.
  12   8.            Officer Aleman (Percipient         .5 hours   .25        1 hour
                     Witness will testify about the                hours;
  13                 incident involving the                        Objectio
                     investigation into and reports of             n:
  14                 having “ heard a child scream”                Failure to
                     before the incident resulting in              Disclose.
  15                 the beating of Plaintiff)                     FRCP 26
                                                                   and 37.
  16
                                                                   Response
  17                                                               Disclose
                                                                   d in
  18                                                               discovery
                                                                   and in
  19                                                               document
                                                                   s
  20                                                               produced
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                                       Plaintiff’s Witness List
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   1   9.            Officer Castleberry (Percipient               .5 hours   .25        1 hour
   2                 Witness will testify about the                           hours;
                     incident involving the                                   Objectio
   3                 investigation into and reports of                        n:
                     having “ heard a child scream”                           Failure to
   4                 before the incident resulting in                         Disclose.
                     the beating of Plaintiff)                                FRCP 26
   5                                                                          and 37.

   6                                                                          Response
                                                                              Disclose
   7                                                                          d in
                                                                              discovery
   8                                                                          and in
                                                                              document
   9                                                                          s
                                                                              produced
  10   10.           Officer Montoya (Percipient                   .5 hours   .25        1 hour
                     Witness will testify about the                           hours;
  11                 incident involving the                                   Objectio
                     investigation into and reports of                        n:
  12                 having “ heard a child scream”                           Failure to
                     before the incident resulting in                         Disclose.
  13                 the beating of Plaintiff)                                FRCP 26
                                                                              and 37.
  14
                                                                              Response
  15                                                                          Disclose
                                                                              d in
  16                                                                          discovery
                                                                              and in
  17                                                                          document
                                                                              s
  18                                                                          produced
  19   11.           Brandon Pua (Percipient Witness               1 hour     .5 hours; 1 hour
                     will testify to his presence with                        Objectio
  20                 Plaintiff on the evening of April                        n:
                     12, 2018 and the events he                               Failure to
  21                 observed, as well as testimony                           Disclose.
                     regarding the overhearing of a                           FRCP 26
  22                 conversation in court between                            and 37.
                     and among defendants Travis
  23                 Hantsbarger and the Officer                              Response
                     Defendants.)                                             Disclose
  24                                                                          d in
                                                                              discovery
  25                                                                          and in
                                                                              document
  26                                                                          s
                                                                              produced
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                                        Plaintiff’s Witness List
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   1   12.           Deputy City Attorney Gissel                   .5 hours   .25        1 hour
   2                 Fernandez (Sp?) (Percipient                              hours;
                     Witness City Attorney will                               Objectio
   3                 testify to the statements provided                       n:
                     to her given to her by                                   Failure to
   4                 Defendants)                                              Disclose.
                                                                              FRCP 26
   5                                                                          and 37.

   6                                                                          Response
                                                                              Disclose
   7                                                                          d in
                                                                              discovery
   8                                                                          and in
                                                                              document
   9                                                                          s
                                                                              produced
  10   13.           Charles E. Frisco, Jr. (Percipient .25 hours             .25        1 hour
                     Witness Attorney will testify to                         hours;
  11                 his representation of Plaintiff and                      Objectio
                     the fees charged)                                        n:
  12                                                                          Failure to
                                                                              Disclose.
  13                                                                          FRCP 26
                                                                              and 37.
  14
                                                                              Response
  15                                                                          Disclose
                                                                              d in
  16                                                                          discovery
                                                                              and in
  17                                                                          document
                                                                              s
  18                                                                          produced
  19   14.           Deputy City Attorney Niklas                   .5 hours   .25        1.5 hours
                     Buckingham (Percipient Witness                           hours;
  20                 City Attorney will testify                               Objectio
                     regarding the dismissal of the                           n:
  21                 underlying criminal case against                         Failure to
                     Plaintiff)                                               Disclose.
  22                                                                          FRCP 26
                                                                              and 37.
  23
                                                                              Response
  24                                                                          Disclose
                                                                              d in
  25                                                                          discovery
                                                                              and in
  26                                                                          document
                                                                              s
  27                                                                          produced
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                                        Plaintiff’s Witness List
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   1   15.           Yuriy Verpukhovskiy, M.D.                      .5 hours   .25        1.5 hours
   2                 (Neurologist)(Percipient witness                          hours;
                     will testify regarding all aspects                        Objectio
   3                 related to his treatment and care                         n:
                     of plaintiff for his fractured skull                      Failure to
   4                 (and resulting surgery), his                              Disclose.
                     shattered and broken front teeth,                         FRCP 26
   5                 fractured facial bones (and                               and 37.
                     resulting surgery), his broken
   6                 arm (which had to be casted),                             Response
                     and broken (comminuted) tibia                             Disclose
   7                 and broken fibia (and resulting                           d in
                     surgery to place a rod and plate)                         discovery
   8                 including the need for                                    and in
                     prescription medication for                               document
   9                 Plaintiff.                                                s
                                                                               produced
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                                         Plaintiff’s Witness List
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   1   16.           Joseph Karam, M.D., (|Trauma        1.5 hours            .25 hours   1.5 hours
   2                 surgeon for critical care surgery
                     at the Emergency Room at
   3                 Northridge Hospital Medical
                     Center. (this doctor has been
   4                 identified in the Expert Witness
                     Disclosure but will testify as a
   5                 percipient witness to all aspects
                     of billing related to the treatment
   6                 and care of plaintiff including the
                     need to prescribe prescription
   7                 medication for plaintiff and the
                     multiple surgeries Plaintiff was
   8                 required to submit to for his care
                     and treatment as a result of is
   9                 injuries sustained on the date of
                     the incident)
  10   17.           Barry H, Pollack, M.D., is an        1 hour              .25 hours   1.5 hours
  11                 emergency room doctor at the
                     Northridge Hospital Medical
  12                 Center and diagnosed and treated
                     Plaintiff as a result of the
  13                 incident alleged in the in the
                     complaint. . (this doctor has
  14                 been identified in the Expert
                     Witness Disclosure but will
  15                 testify as a percipient witness to
                     all aspects of billing related to
  16                 the treatment and care of plaintiff
                     including the need to prescribe
  17                 prescription medication for
                     plaintiff and the multiple
  18                 surgeries Plaintiff was required
                     to submit to for his care and
  19                 treatment as a result of is injuries
                     sustained on the date of the
  20                 incident)

  21   18.           Custodian of Records and Bills
                     from Northridge Hospital                      .5 hours   0 hours     .5 hours
  22                 Medical Center and Dignity
                     Health Care
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                                        Plaintiff’s Witness List
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   1   19.           Ehab Yacoub, MD. (Pyschiatrist) .5 hours         .25 hours   1 hour
   2                 (Percipient witness will testify
                     regarding all aspects related to
   3                 his treatment and care of plaintiff
                     for his fractured skull (and
   4                 resulting surgery), his shattered
                     and broken front teeth, fractured
   5                 facial bones (and resulting
                     surgery), his broken arm (which
   6                 had to be casted), and broken
                     (comminuted) tibia and broken
   7                 fibia (and resulting surgery to
                     place a rod and plate) including
   8                 the need for prescription
                     medication for Plaintiff.
   9   20.           Brandi Carter NP. (Percipient        .5 hours    .25 hours   1 hour
                     Witness will testify regarding all
  10                 aspects related to his treatment
                     and care of plaintiff for his
  11                 fractured skull (and resulting
                     surgery), his shattered and
  12                 broken front teeth, fractured
                     facial bones (and resulting
  13                 surgery), his broken arm (which
                     had to be casted), and broken
  14                 (comminuted) tibia and broken
                     fibia (and resulting surgery to
  15                 place a rod and plate) including
                     the need for prescription
  16                 medication for Plaintiff.
  17   21.           (Harrison Ford Kay, M.D.             1.5 hours   .25 hours   1 hour
                     Emergency Room Doctor at
  18                 LACounty USC Medical Center
                     Detention Unit (this doctor has
  19                 been identified in the Expert
                     Witness Disclosure but will
  20                 testify as a percipient witness to
                     all aspects of billing related to
  21                 the treatment and care of plaintiff
                     including the need to prescribe
  22                 prescription medication for
                     plaintiff and the multiple
  23                 surgeries Plaintiff was required
                     to submit to for his care and
  24                 treatment as a result of is injuries
                     sustained on the date of the
  25                 incident)
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                                        Plaintiff’s Witness List
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   1   22.            Daniel Lee Johnson, M.D., .         1.5 hours   .25 hours   1 hour
   2                 (Emergency Room Doctor at
                     LACounty USC Medical Center
   3                 Detention Unit (this doctor has
                     been identified in the Expert
   4                 Witness Disclosure but will
                     testify as a percipient witness to
   5                 all aspects of billing related to
                     the treatment and care of plaintiff
   6                 including the need to prescribe
                     prescription medication for
   7                 plaintiff and the multiple
                     surgeries Plaintiff was required
   8                 to submit to for his care and
                     treatment as a result of is injuries
   9                 sustained on the date of the
                     incident)
  10   23.           Pouriya Ghayoumi, M.D.,              1.5 hours   .25 hours   1 hour
                     (Emergency Room Doctor at
  11                 LACounty USC Medical Center
                     Detention Unit (this doctor has
  12                 been identified in the Expert
                     Witness Disclosure but will
  13                 testify as a percipient witness to
                     all aspects of billing related to
  14                 the treatment and care of plaintiff
                     including the need to prescribe
  15                 prescription medication for
                     plaintiff and the multiple
  16                 surgeries Plaintiff was required
                     to submit to for his care and
  17                 treatment as a result of is injuries
                     sustained on the date of the
  18                 incident)
  19   24.           Elke R. Ahlmann, M.D.,.              1.5 hours   .25 hours   1 hour
                     (Emergency Room Doctor at
  20                 LACounty USC Medical Center
                     Detention Unit (this doctor has
  21                 been identified in the Expert
                     Witness Disclosure but will
  22                 testify as a percipient witness to
                     all aspects of billing related to
  23                 the treatment and care of plaintiff
                     including the need to prescribe
  24                 prescription medication for
                     plaintiff and the multiple
  25                 surgeries Plaintiff was required
                     to submit to for his care and
  26                 treatment as a result of is injuries
                     sustained on the date of the
  27                 incident)
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                                        Plaintiff’s Witness List
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   1    25.             Danielle Annette Wickham,            1.5 hours     .25 hours    1 hour
   2                    M.D, . (Emergency Room Doctor
                        at LACounty USC Medical
   3                    Center Detention Unit (this
                        doctor has been identified in the
   4                    Expert Witness Disclosure but
                        will testify as a percipient
   5                    witness to all aspects of billing
                        related to the treatment and care
   6                    of plaintiff including the need to
                        prescribe prescription medication
   7                    for plaintiff and the multiple
                        surgeries Plaintiff was required
   8                    to submit to for his care and
                        treatment as a result of is injuries
   9                    sustained on the date of the
                        incident)
  10    26.             Custodian of Records and Bills       .75 hours     0 hours      1 hour
                        from Los Angeles County USC
  11                    Medical Center
  12          Plaintiff has identified these witnesses in the middle of the COVID-19
  13   Pandemic and it is unclear as to which witnesses are available and will be available to
  14   testify in this case. Plaintiff reserves the right to call witnesses in rebuttal which are
  15   not required to be and are not listed in herein although some such rebuttal witnesses
  16   are listed. Otherwise, Plaintiff reserves the right to amend this list to include other
  17   witnesses at trial depending on availability.
  18   DATED: October 9, 2020            BELTRAN, BELTRAN, SMITH &
  19                                     MACKENZIE LLP

  20                                     By___/S/______________________
  21                                       PATRICK S. SMITH, ESQ.
                                           Attorney for Plaintiff
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                                            Plaintiff’s Witness List
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